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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

COURTNEY WRIGHT,

      Plaintiff,

v.                                                   Case No: 8:19-cv-00739-MSS-AAS

MARINER FINANCE LLC,

      Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

      Upon consideration of the Parties’ Stipulated Notice of Voluntary Dismissal with

Prejudice, (Dkt. 17), and pursuant to Federal Rule of Civil Procedure 41, it is hereby

      ORDERED that this case is DISMISSED WITH PREJUDICE. Each party shall bear

its own attorneys’ fees and costs associated with this matter. The Clerk is directed to

terminate any pending motions and CLOSE this case.

      DONE and ORDERED in Tampa, Florida this 15th day of June, 2020.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
